         Case 1:14-cr-02092-SAB             ECF No. 369        filed 10/21/15       PageID.1045 Page 1 of 1
O PS 8
(3/15)
                                                                                                            FILED IN THE

                               UNITED STATES DISTRICT COURT                                             U.S. DISTRICT COURT
                                                                                                  EASTERN DISTRICT OF WASHINGTON



                                                              for                                  Oct 21, 2015
                                                                                                       SEAN F. MCAVOY, CLERK
                                             Eastern District of Washington

U.S.A. vs.                   Gardee, Anthony Linn                         Docket No.          0980 1:14CR02092-SAB-4

                                  Petition for Action on Conditions of Pretrial Release

COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Anthony Linn Gardee, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
James P. Hutton sitting in the court at Yakima, Washington, on the 27th day of January, 2015 under the following conditions:

Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled substances,
unless prescribed by a licensed medical practitioner. Defendant may not possess or use marijuana, regardless of whether
Defendant has been prescribed a medical marijuana card.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

The defendant is alleged to be in violation of his conditions of pretrial supervision in the Eastern District of Washington by:

Violation #1: Consuming controlled substance, marijuana, on or about October 14, 2015.

                             PRAYING THAT THE COURT WILL ORDER A SUMMONS
                                                                            I declare under the penalty of perjury
                                                                            that the foregoing is true and correct.
                                                                            Executed on:       October 20, 2015
                                                                    by      s/Linda Leavitt
                                                                            Linda J. Leavitt
                                                                            U.S. Pretrial Services Officer

THE COURT ORDERS
[ ]  No Action
[ ]  The Issuance of a Warrant
[X ] The Issuance of a Summons
[ ]  The incorporation of the violations contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ X] Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                              Signature of Judicial Officer

                                                                                     10/21/2015
                                                                              Date
